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 1    DESOUZA LAW OFFICES, a professional corporation
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 2    JULIE AZEVEDO, State Bar No. 151618
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 4    Telephone: 510-649-3420
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 5
      Attorneys for Defendant(s):
 6    D.G. Smith Enterprises Inc., Dayjoye Enterprises Inc., Taco Bell, Mrs. Fields, TCBY, and
      Pretzel Time
 7
 8
                               UNITED STATES DISTRICT COURT
 9
                             EASTERN DISTRICT OF CALIFORNIA
10
11
      Gary Palmer,                                             Case No.: CIV.S-05-1935 MCE GGH
12
                                                               STIPULATION TO CONTINUE
13           Plaintiff,                                        TIME TO RESPOND AND ORDER
14    v.
15    Chelsea Financing Partnership LP et al.,
16
            Defendants.
17    ________________________________/
18           Plaintiff, Gary Palmer, by and through his attorneys of record, Law Offices of
19    Lynn Hubbard, and Defendants D.G. Smith Enterprises Inc., Dayjoye Enterprises Inc.,
20    Taco Bell, Mrs. Fields, TCBY, and Pretzel Time by and through their attorneys of record,
21    DESOUZA LAW OFFICES PC, agree and stipulate as follows:
22           Gary Palmer has filed suit against D.G. Smith Enterprises Inc. and Dayjoye
23    Enterprises Inc., companies that operate Taco Bell, TCBY, Mrs. Fields, and Preztel Time
24    franchises at the Folsom Premium Outlets. Mr. Palmer has effected service on each
25    Defendant. Since such service, the parties have been actively engaged in discussions to
26    resolve this dispute. To permit the parties to continue such discussions without added
27    obligations and expense, they stipulate and agree to continue the time by which these
28    Defendants must file a responsive pleading up to and including December 19, 2005.
      Nothing in this stipulation is intended to waive any defense that these Defendants may


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 1    raise against the allegations in the Complaint.
 2    IT IS SO STIPULATED:
 3
 4    Dated:____________, 2005                                 DESOUZA LAW OFFICES
                                                               a professional corporation
 5
 6                                                             By: /s/ Jacqueline deSouza
                                                               Jacqueline deSouza
 7                                                             Attorneys for Defendant(s)
                                                               D.G. Smith Enterprises Inc. and Dayjoye
 8                                                             Enterprises Inc., Taco Bell, Mrs. Fields,
                                                               TCBY, and Pretzel Time
 9
10
11    Dated:____________, 2005                                 LAW OFFICES OF LYNN HUBBARD
                                                               III
12
13
                                                               By: /s/ Lynn Hubbard III
14                                                             Lynn Hubbard III
                                                               Attorneys for Plaintiff
15                                                             Gary Palmer
16
17    Good cause having been found, IT IS ORDERED that Defendants D.G. Smith Enterprises
18    Inc., Dayjoye Enterprises Inc,, Taco Bell, Mrs. Fields, TCBY, and Pretzel Time shall
19    have up to and including December 19, 2005, to file a response to Plaintiff Gary Palmer’s
20    Complaint.
21
22    IT IS SO ORDERED:
23
24    Dated: December 14, 2005
25
26
27                                           ___________________________________
                                             MORRISON C. ENGLAND, JR
28                                           UNITED STATES DISTRICT JUDGE




                                  Stipulation to Continue Time to Respond – Page 2
